csn 40@&$®06f90460-.]|\/| Filed 08/15/07
Name, Address, Telephone No. & I.D, No.
Margaret M. Mann 99054
Heller Ehrman LLP

4350 La Jolla Village Drive,
San Diego, CA 92122
858.450.5307

7ch Floor

Entered 08/15/07 11:26:21 Doc 18 Pg. 1 of 2

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA
325 West "F“ Street, San Diego, California 92101-6991

 

 

In ne

NAOMI DYE-CHEN BANKRUPTCY No. 06-02200-1"1")'
Debtor.

SCOTT M. FOREMAN

Plaintiff($)

ADVERSARY No. 06-90460-M7

 

V,

NAOMI DYE=CHEN

Defendants(s)

 

 

MEDIATOR'S CERTIF|CATE OF COMPL|ANCE

l‘ Margaret M. Mann , the Court appoi

 

1. Date of Mediation: 8!8!0?

Continued Date: (|f applicable)

nted hitetliatorl declare:

 

 

2. The Ru|es governing mediation have x have not been complied with.
3. A settlement of this matter has has not X been reached.
4. lf settlement has been reached, . (plaintitf) (defendant),
shall prepare the stipulation for settlement
f %@/MEB //l/l/\/"“
Dated: Au ust d). 2007 o \

 

FOR COURT USE ONLY (C§se M_§__rl§clement Section}:

cc: Courtroom Deputy

CSD 4004

O(Mediator)
Margaret M. |Vlann

 

American l.&g=alNet, |nc.
wwaommWthmam1

 

 

 

CaSe 06-90460-.]|\/| Filed 08/15/07 Entered 08/15/07 11226221 DOC 18 PQ. 2 Of 2

PROOF OF SERVICE BY MAIL
I, Michele McConnell, declare as follows:

I am employed with the law firm of Heller Ehrman LLP, whose address is 43 50 La
Jolla Village Drive, '7th Floor, San Diego, CA 92122-1246. I am readily familiar with
the business practices of this office for collection and processing of correspondence for
mailing with the United States Postal Service; I am over the age of eighteen years and not
a party to this action.

On August 15, 2007, I served the following:

MEDIATOR’S CERTIFICATE OF COMPLIANCE

on the below parties in this action by placing true copies thereof in sealed envelopes,
addressed as shown, for collection and mailing pursuant to the ordinary business practice
of this office which is that correspondence for mailing is collected and deposited with the
United States Postal Service on the same day in the ordinary course of business:

Judith Descalso Tirnothy Silverman

960 Canterbury Place Parnela LaBruyere

Suite 340 Solomon Grindle Silverman & Spinella
Escondido, CA 92025 12651 High BluffDrive, Suite 300

San Diego, CA 92130

l declare under penalty of perjury under the laws of the United States ofAmerica
thatI am employed in the office of a member of the bar of this court at whose direction
the service was made. Executed on August 15, 2007 at San Diego, Califg\rnia.

it a swl t :,@ M

Michele McConneil "~

